Case 1:19-mc-00039-UNA Document 1-1 Filed 03/21/19 Page 1 of 3

AO 88B (Rev. 02/14) Subpoena to Produce Documents, Int`ormation, or Objects or to Permit Inspection of Premises in a Civil Action

 

UNITED STATES DISTRICT CoURT

 

for the
District of Columbia
Recording |ndustry Association of America, |nc. )
Plainriff _ )
v. ) Civil Action No.
Namecheap )
)
Defendant )

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

TO; Namecheap, 4600 East Washington Street, Suite 305l Phoenix, AZ 85034

 

(Name of person lo whom this subpoena is directed)

d Proa’uction.' YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored inforrnation, or objects, and to permit inspection, copying, testing, or sampling of the
material: lnformation sufficient to identify the alleged infringer of the sound recordings described in the attached

notification This would include the individual's name, physical address, lP address, telephone numberl e-mai|
address, payment informationI account updates and account history.

 

Placei Recording |ndustry Association of America, |nc., 1025 F : Date and Timef
Street NW, 1_0th F|oor, Washlngton, DC 20004, 04/01/2019 5:00 pm
_ antipiracy@naa.com

 

|:l Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 

Place: ___ Date and Time:

 

The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(0), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

CLERK OF COURT
OR

Signature ofClerk or Depu!y Clerk ;ttorney ’s signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name ofpar¢y)

, who issues or requests this subpoena, are:

 

 

Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).

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Civil Action No.

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and zirle, ifany)

011 (date)

l:l l served the subpoena by delivering a copy to the named person as follows:

011 (date) ; 01'

lIl I returned the subpoena unexecuted because:

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, l have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$_

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server 's signature

 

Printed name and title

 

 

Server ’s address

Additional information regarding attempted service, etc.:

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Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(l) For a Trial, Hearing, or Depasition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense

(2) For Other Discove);v. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things ata place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(l) Avoiding Undue Burden ar Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction-which may include
lost earnings and reasonable attomey’s fees_on a party or attorney who
fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises_or to
producing electronically stored information in the form or forms requested
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance

(3) Quashing or Modijjiing a Subpoena.

(A) When Required. On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) l/Wren Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specijj/ing Conditions as an Alternative. ln the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored lnformution. These
procedures apply to producing documents or electronically stored
infonnation:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand

(B) Formfor Producing Electronically Stored Information Not Specij'r`ed.
If a subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or fonns.

(C) Electronically Stored Information Produced in Only One Form. 'l`he
person responding need not produce the same electronically stored
information in more than one forrn.

(D) Inaccessible Elecrronicaily Szorea’ lnformation. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. lf that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Ru|e
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation materia], the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly retum, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved

(g) Contempt.

The court for the district where compliance is required-and also, after a
motion is transferred, the issuing court_may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

 

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

 

